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Jeffrey Cox (26953)
Dwayne Farnsworth (13209)
COX LAW OFFICES

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Attorney for Debtor
UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF ARIZONA
In re ) In Proceedings Under
) Chapter Seven
DANIELLE KRISTINE LAFATA, )
) Case No. 2:19-bk-04795-PS
)
Debtor. )
DANIELLE KRISTINE LAFATA, )
)
Movant, ) MOTION TO AVOID
VS. ) JUDGEMENT LIEN
) IMPAIRING DEBTOR’S
DISCOVER BANK, ) EXEMPTION UNDER
) 11 U.S.C. § 522(f)
Respondent. )
)

 

1. Movant filed her Chapter 7 Bankruptcy on April 22, 2019.

2. Judgment was obtained in the Arcadia Biltmore Precinct Justice Court of
Maricopa County, in favor of the Respondent and against the Movant under case number
CC18118808RC.

3. Said judgement was for an unsecured credit card debt in the amount of $3,600.36
plus cots and attorney fees.

4, The Respondent, DISCOVER BANK, has recorded a Judgement Lien
with the County Recorder of Maricopa County, on or about January 31, 2019, Recording No:
20190068137. See attached Exhibit “A”.

5. Said lien is a Judicial Lien and avoidable under 11 U.S.C. Section 522(f).

6. This lien will impair exemptions to which the Debtor is entitled, under 11 U.S.C.
Section 522 (f)(1), ifnot avoided.
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WHEREFORE, Movant respectfully asks this court:
a) For an order avoided the judgment lien recorded with the Recorder of Maricopa
County, on January 31, 2019, Recording No: 20190068137.;
b) that each party to bear their own fees and costs;
c) for such other and further relief as this Court deems just and equitable.
DATED this 5" day of _June_, 2019.

COX LAW OFFICES

/s/ Dwayne Farnsworth #13209
Dwayne Farnsworth

Jeffrey Cox
Attorney for Debtor
 
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When recorded mail to:

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Name: Guelielmo & Associates Yo.

Address: POB 41688
City/State/Zip: Tucson, AZ 85717-1688

 

this area reserved for county recorder

 

 

 

 

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4 Paul D. Guglielmo STATE BAR #005585
HW John A. Daddona STATE BAR #027793
| Attorneys for Plaintiff
’ Arcadia Biltmore Precinct Justice Court
620 W. Jackson St., Ste. #1046, Phoenix AZ 85003-2423
County of Maricopa, State of Arizona
i Discover Bank, - Case No.: CC2018118808RC
i. Plaintiff
. “e .
4 VS. JUDGMENT

| Danielle Lafata & John/Jane Doe Lafata (If Married), AS TO Danielle Lafata ONLY

Defendant(s)

| NOW, THEREFORE, IT IS ORDERED that Plaintiff is granted Judgment against Defendant(s):

 

 

 

 

 

 
 
  
     
 

 

   

Danielle Lafata
| As follows:
| 1. Principal damages: Wrote Doeemest, 3391 86
1 2. Accrued costs through date of Judgment: $ 208.50
J 3. Less Payments Received $ -0.00 . an
4. Attomey Fees: $ 0.00 WAIVED
| TOTAL JODGMENT $ 3600.36 o
_ 5, With interest at the legal rate on the principal at 6.25% per annum from the date of Judgment, until paid in full,
|] together with after-accruing taxable costs. we OR Me
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No further matters remain pending and the judgment is entered pursuant to A.R/ i ep R °0, ont
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DATED this y of 20 - a ae Zm=
T Date: = 0, C04 iy . $
JUSTICE OF THEPRAUE, coma eS
LA RARE =, COUTTS
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se I hereby certify that this document*is a true and —
, oar to correct copy of the original, entered and filed‘in:
ve oo the Arlo Ha Justice Court.
Date: , Leonore.Driggs
Justice of thé Peace

 

Clerk

 

 

 
